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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                       EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                            CASE NO. 11-0190 MCE
12
                                     Plaintiff,           STIPULATION REGARDING EXCLUDABLE
13                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                          ORDER TO CONTINUE CASE TO 1/28/16 AT 9:00
14                                                        A.M.
     TIFFANY BROWN,
15   NICHOLAS RAMIREZ,
                                     Defendants
16
17                                                   STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, Jason Hitt, and

19 Defendant Tiffany Brown, represented by Attorney Dina Santos; Defendant Nicholas Ramirez,

20 represented by Attorney Michael Bigelow, hereby stipulate as follows:

21          1.      By previous order, this matter was set for status on November 19, 2015.

22          2.      By this stipulation, defendant now moves to continue the status conference until January

23 28, 2016, and to exclude time between November 19, 2015, and January 28, 2016, under Local Code T4.

24 Plaintiff does not oppose this request.
25          3.      The parties agree and stipulate, and request that the Court find the following:

26                  a)       Counsel for defendants desire additional time to review discovery, conduct

27          investigation, and to otherwise prepare for trial. This case involves a significant amount of

28          discovery, including a related case in another district. Counsel for defendants believe that failure

      Stip. & Order Continuing Status Conf. & Excluding   1
      Time Periods Under Speedy Trial Act
             Case 2:11-cr-00190-KJM Document 262 Filed 12/01/15 Page 2 of 3


 1         to grant the above-requested continuance would deny them the reasonable time necessary for

 2         effective preparation, taking into account the exercise of due diligence.

 3                 b)       The government does not object to the continuance.

 4                 c)       Based on the above-stated findings, the ends of justice served by continuing the

 5         case as requested outweigh the interest of the public and the defendant in a trial within the

 6         original date prescribed by the Speedy Trial Act.

 7                 d)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8         et seq., within which trial must commence, the time period of November 19, 2015, to January 28,

 9         2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

10         T4] because it results from a continuance granted by the Court at defendant’s request on the basis

11         of the Court’s finding that the ends of justice served by taking such action outweigh the best

12         interest of the public and the defendant in a speedy trial.

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     Stip. & Order Continuing Status Conf. & Excluding   2
     Time Periods Under Speedy Trial Act
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.

 4          IT IS SO STIPULATED.

 5 Dated: November 10, 2015                                     BENJAMIN B. WAGNER
                                                                United States Attorney
 6
                                                                /s/ Jason Hitt
 7                                                              JASON HITT
                                                                Assistant United States Attorney
 8
     Dated: November 10, 2015                               /s/ Dina L. Santos
 9                                                          DINA L. SANTOS, ESQ.
                                                            Attorney for TIFFANY BROWN
10
     Dated: November 10, 2015                                   /s/ Michael Bigelow
11                                                              MICHAEL BIGELOW, ESQ.
                                                                Attorney for NICHOLAS RAMIREZ
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                                                          ORDER
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            IT IS SO ORDERED.
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     Dated: November 30, 2015
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      Stip. & Order Continuing Status Conf. & Excluding     3
      Time Periods Under Speedy Trial Act
